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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                     )
ATTORNEY GENERAL MERRICK                             )
GARLAND, in his official capacity, UNITED            )
STATES DEPARTMENT OF JUSTICE, FBI                    )
DIRECTOR CHRISTOPHER A. WRAY, in his                 )
official capacity, FEDERAL BUREAU OF                 )
INVESTIGATION,                                       )
                                                     )
                               Movants,              )
                                                     )
v.                                                   )      Case No. 1:22-mc-00027-ABJ
                                                     )
PETER P. STRZOK                                      )
                                                     )      Related: Strzok v. Garland, et al.,
IN RE SUBPOENA SERVED ON                             )      1:19-CV-2367-ABJ (D.D.C);
DONALD J. TRUMP                                      )      Page v. DOJ, et al.,
                                                     )      1:19-cv-03675-TSC (D.D.C)
                                                     )

 DECLARATION OF CHRISTOPHER R. MACCOLL IN SUPPORT OF PLAINTIFF
PETER STRZOK’S NOTICE OF SUPPLEMENTAL DISCOVERY IN OPPOSITION TO
MOVANTS’ / DEFENDANTS’ MOTION TO QUASH OR FOR PROTECTIVE ORDER

     I, Christopher R. MacColl, hereby declare:

     1. I am an associate with Zuckerman Spaeder LLP. I have filed an appearance in this matter

        as an attorney for Peter Strzok.

     2. Exhibit 1 is a true and correct copy of selected pages from the June 9, 2022 deposition of

        Scott Schools.

     3. Exhibit 2 is a true and correct copy of a document produced by Movant/Defendant, the

        Federal Bureau of Investigation, bearing Bates number FBI0041160 with an associated

        cover page.

     4. Exhibit 3 is a true and correct copy of a document produced by Movant/Defendant, the

        Department of Justice, bearing Bates number STRZOK_PAGE_DOJ _00005386
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   5. Exhibit 4 is a true and correct copy of a page excerpted from a privilege log served by the

       Department of Justice on or about March 31, 2022.

   6. Exhibit 5 is a true and correct copy of an email exchange dated May 25, 2022.

   7. Exhibits 1, 2, and 3 were designated as confidential by the Defendants.

   8. I conferred with counsel for the Defendants, who confirmed that they did not oppose a

       motion to file the notice and related exhibits under seal.

I declare under penalty of perjury that the foregoing is true and correct.


Executed on: June 15, 2022                            /s/ Christopher R. MacColl
                                                      Christopher R. MacColl
                                                      DC Bar No. 1049153




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